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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


SELENA THOMPSON, JON M.                  )            Case File No. 18-cv-06755
STEWART, CHRISTINE OST, and              )
JACOB MANNING, on behalf of              )
themselves and all other employees       )       STP DEFENDANTS’ NOTICE OF
similarly situated,                      )            MOTION TO STAY
                                         )
                    Plaintiffs,          )
                                         )
      v.                                 )
                                         )
JIMMY JOHN’S FRANCHISE, LLC,             )
JIMMY JOHN’S ENTERPRISES, LLC,           )
JIMMY JOHN’S, LLC, SPIN THE              )
PLANET, INC., STP JJ TEAM 1, LLC,        )
d/b/a SPIN THE PLANET                    )
ENTERPRISES, d/b/a JIMMY JOHN’S,         )
WTE, INC., and DANIEL                    )
VANSTEENBURG,                            )
                                         )
                                         )
                    Defendants.          )




MOTION BY:                                   Defendants Spin The Planet, Inc.; STP JJ
                                             Team 1, LLC, d/b/a Spin The Planet
                                             Enterprises, d/b/a Jimmy John’s; WTE,
                                             Inc.; and Daniel Vansteenburg
                                             (collectively, the “STP Defendants”)

RELIEF REQUESTED:                            Motion To Stay Conditioned on Payment
                                             of Costs

BASIS FOR RELIEF REQUESTED:                  Pursuant to Fed.R.Civ.P. 41(d), the STP
                                             Defendants request that the Court stay this
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                                           second-filed action unless and until
                                           Plaintiffs pay to the STP Defendants their
                                           reasonable costs incurred in defending an
                                           action brought by, and subsequently
                                           dismissed     by Plaintiffs, prior      to
                                           recommencing the same action against the
                                           same Defendants.

SUPPORTING PAPERS:                         The STP Defendants’ Memorandum of
                                           Law In Support Of Their Motion To Stay
                                           Conditioned on Payment of Costs

PLACE:                                     United States District Court Western
                                           District of New York U.S. Courthouse.

RETURN DATE                                To be determined by the Court.

REPLY:                                     Pursuant to L.R.Civ.P. 7(a)(1), The STP
                                           Defendants intend to file and serve reply
                                           papers.



Dated: December 3, 2018               s/ Joseph Sokolowski
                                      Mary L. Fee
                                      Joseph Sokolowski pro hac vice
                                      FREDRIKSON & BYRON, P.A.
                                      200 South Sixth Street, Suite 4000
                                      Minneapolis, MN 55402-1425
                                      Telephone: 612.492.7000


                                      Attorneys for STP Defendants




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                           CERTIFICATE OF SERVICE

        I hereby certify that on December 3, 2018, I caused the attached document to be
filed electronically with the Clerk of Court through ECF, and that ECF will send an e-
notice of the electronic filing to the following:


 J. Nelson Thomas, Esq.                         Gerald L. Maatman, Jr.
 nthomas@theemploymentattorneys.com             gmaatman@seyfarth.com
 Michael J. Lingle, Esq.                        Matthew Gagnon
 mlingle@theemploymentattorneys.com             mgagnon@seyfarth.com
 Annette Gifford                                233 South Wacker Drive
 agifford@theemploymentattorneys.com            Suite 8000
 693 East Avenue                                Chicago, IL 60606-6448
 Rochester, New York 14607                      312-460-5237 (office)
 Telephone: (585) 272-0540                      312-460-7237 (fax)

Dated: December 3, 2018                 s/ Mary L. Fee
                                        Mary L. Fee




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